            Case 1:22-cv-02299-LGS Document 52 Filed 06/15/22 Page 1 of 1


UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
 -------------------------------------------------------------X
                                                              :
 NETWORK DATA ROOMS, LLC,                                     :
                                            Plaintiff         :
                                                              :   22 Civ. 2299 (LGS)
                            -against-                         :
                                                              :         ORDER
 SAULREALISM LLC et al.,                                      :
                                            Defendants. :
 -------------------------------------------------------------X

LORNA G. SCHOFIELD, District Judge:

          WHEREAS, on May 10, 2022, Terry Patterson was appointed to serve as an independent

expert pursuant to Federal Rule of Evidence 706. Plaintiff agreed to incur the cost of retaining

Mr. Patterson for the review based on the parties’ joint proposed questions.

          WHEREAS, on June 7, 2022, Mr. Patterson’s initial report was filed.

          WHEREAS, on June 14, 2022, the parties filed letters proposing additional questions for

Mr. Patterson to address in a supplemental report, and Plaintiff requested an opportunity to

submit a closing statement following the submission of Mr. Patterson’s final report.

          WHEREAS, in its letter, Plaintiff agreed to pay the additional cost associated with its

proposed additional question. It is hereby

          ORDERED that by June 17, 2022, Plaintiff shall file a letter stating whether it agrees to

pay the additional cost associated with Defendants’ proposed additional questions, and if not,

why. Inferences may be drawn against Plaintiff if it declines to assume the cost of the additional

review.

          The Court reserves decision on Plaintiff’s request to submit a closing statement, which the

Court construes as a request that both parties submit closing statements.

Dated: June 15, 2022
       New York, New York
